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Brenda Hayes L
SSN: 412-098-356
414 A evergreen Street
Greenfield, TN 38230
Weakley

Plaintiff,

v. Civil Action No. 04-1217 T
Jo Anne B. Barnhart
Commissioner of
Social Security,

Defendant.

ORDER

Wherefore, for good cause shown and it appearing to the court that Plaintiff
requires extra time to prepare Plaintiff’s brief, and and, because the United States Attorney
representing the government in this matter consents to the additional time requested,

It is, accordingly, ordered, adjudged, and decreed that Plaintiff is granted an
additional period of time, up to and including May 19, 2005 to flle a brief in reply to the

government’s bricf.

 

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Certificate of Service

I certify that I have mailed a true and exact copy fo the foregoing Proposed Order
to Joseph Dycus, Assistant United States Attorn ' ‘ . '
Street, Memphis, TN 38103, this the 20th da

   

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 1:04-CV-012]7 Was distributed by faX, mail, or direct printing on
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ESSEE

 

Jc)e A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Roger Stanfleld

LAW OFFICE OF ROGER STANFIELD
P.O. BOX 3338

Jackson, TN 38303--333

Honorable J ames Todd
US DISTRICT COURT

